                                 UNITED STATES DISTRICT COURT
                              FOR THE District of Idaho (LIVE) NextGen 1.8


Jason Henry Allen                              CASE NO. 2:25−cv−00172−AKB

Plaintiff(s)/Petitioner(s),                    NOTICE TO PRO SE LITIGANT OF YOUR
                                               RIGHTS AND OBLIGATIONS RE: THE
v.                                             OPPOSING PARTY'S MOTION FOR
                                               JUDGMENT OR DISMISSAL
Idaho Central Credit Union, et al.

Defendant(s)/Respondent(s).


                       This Notice is Required to be Given to You by the Court
       A party in your case has filed a motion to dismiss under Federal Rule of Civil
Procedure 12 or a motion for summary judgment under Federal Rule of Civil Procedure 56. This is
notice to you that, if the motion is granted, some or all of your claims may be dismissed if you
are a plaintiff, or some or all of the claims against you may be granted if you are a defendant,
and there will be no trial or evidentiary hearing on those claims. In preparing your response to
the motion, consult the particular Federal Rule of Civil Procedure to determine what your response
should contain.

Motions to Dismiss Considered under Rule 12(b)(1) to (7) or Rule 12(c), and
Motions to Dismiss Treated As Rule 56 Motions

        In a motion to dismiss brought under Rule 12(b), subparts (1) to (7), the moving party
generally relies on facts stated in the complaint (and any directly related items of which the Court
can take judicial notice) to support dismissal of the complaint. In a Rule 12(c) motion, the answer to
the complaint is also considered. However, if either the moving or responding party submits matters
outside of the complaint, answer, and documents subject to judicial notice, then the court must
either exclude such outside matters from consideration, or treat the motion as one for summary
judgment under Rule 56 and give all parties a reasonable opportunity to present all material
pertinent to the motion. See Federal Rule of Civil Procedure 12(d). If the Court decides to consider a
motion to dismiss as a motion for summary judgment, you will receive notice of that action, and
your response to the motion will be governed by the provisions of Rule 56, dealing with motions for
summary judgment, rather than Rule 12(b) or 12(c). Additional information about Rule 56 is
included on the next two pages of this notice.

Motions for Summary Judgment under Rule 56

       Under Rule 56, the moving party is required to file with its motion both a statement of
undisputed material facts and a memorandum showing why the party is entitled to judgment as a
matter of law, as more fully explained below.

        When the moving party has filed a Rule 56 motion for summary judgment (or a Rule 12
motion to dismiss that is treated as a Rule 56 motion), you must file a response opposing that
motion within 21 days after the date the motion was mailed to you, or within such other time period
set by the Court. The date of mailing can be found on the "Certificate of Service," which is usually
on the last page of any document that is filed with the Court. See Local Rule 7.1(c)(1); Federal Rule
of Civil Procedure 5(b). Your response must consist of (1) a memorandum opposing the motion, not
to exceed 20 pages in length; (2) a statement of all material facts in dispute, if any, not to exceed 10
pages; and (3) evidence supporting your claims, such as affidavits, declarations, admissions from
the other party, deposition transcripts, documents, electronically stored information, answers to
interrogatories, stipulations, or other materials that contradict or oppose the moving party's motion
and support your claims. See Federal Rule of Civil Procedure 56(c); Local Rule 7.1(a)(2). Your
evidence must be the type that can be presented in a form that would be admissible at trial.

       These filings constitute your only opportunity to contest the Rule 56 motion. If you know
facts exist to support your position, but you do not presently possess evidence of those facts, you
can bring that to the attention of the Court by filing an affidavit or declaration about those specific
facts, following the requirements of Rule 56(d), before the deadline for response to the Rule 56
motion expires.

       After you file your response, the moving party may file a reply memorandum within 14 days,
or within such other time period set by the Court. The reply memorandum completes the record
before the Court for the Rule 56 motion. You are not entitled to file anything in response to the
moving party's reply memorandum, unless the Court specifically authorizes it.

       Summary judgment will be granted (1) if there is no genuine dispute between you and the
moving party over any material facts (which means that it is not necessary to have a "factfinder"
(usually a jury) decide the truth or falsity of any important fact); and (2) when, based on the law
governing the case, you have not produced enough evidence upon which a factfinder (jury)
reasonably could decide the claim in your favor.

       If the party moving for summary judgment under Rule 56 submits affidavits, sworn
testimony, or other evidence, you generally cannot oppose the motion by relying solely on what
your complaint or answer says. Instead, you must provide specific facts that show there is a genuine
dispute of material fact that requires a factfinder to decide the truth or falsity of the disputed facts.

       In some cases, a Rule 56 summary judgment motion may be addressed to a preliminary
procedural issue, such as a prisoner's failure to exhaust claims through prison administrative
grievance procedures before filing the complaint in court. If such a motion is filed seeking dismissal
of your case based on a failure to exhaust, you must respond as set forth above and include evidence
supporting your assertion that you exhausted (or were prevented from exhausting) your
administrative remedies, such as affidavits, declarations, admissions from the other party,
documents, or other materials that contradict or oppose the motion.

       After reviewing all of the briefing and evidence, the Court will decide whether some or all of
your claims should be dismissed, or, if you are a defendant, whether some or all of the claims
against you will be granted. If all of your claims are dismissed, or the claims against you are
granted, judgment will be entered against you and the case will be closed without a trial or
evidentiary hearing.

Your Response to Any of these Motions is REQUIRED

       You are warned that if you do not file your response opposing the motion within 21 days (or
such other time period set by the Court), the Court will consider the facts provided by the moving
party as undisputed and may grant the motion based on the record before it, or it may dismiss
your entire case for failure to prosecute (abandonment of your case). See Local Rule 7.1(e)(2);
Fed. R. Civ. P. 41(b).

Dated: 5/21/2025                                                   Stephen W. Kenyon, Clerk of Court
